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 3                                   NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Richard Zabriskie, et al.,                       No. CV-13-02260-PHX-SRB
10                        Plaintiffs,                 ORDER
11   v.
12   Federal National Mortgage Association, et
     al.,
13
                          Defendants.
14
15          The Court now considers Plaintiffs’ Motion in Limine No. 3 to Exclude

16   Testimony of Evan T. Barnett (“Pls.’ Mot.”) (Doc. 137) and Defendant Federal National

17   Mortgage Association’s (“Fannie Mae”) Motion in Limine No. 3 to Exclude the

18   Testimony of Evan D. Hendricks (“Def.’s Mot.”) (Doc. 142), which the Court took under

19   advisement following the pretrial conference on February 29, 2016. (Doc. 168, Minute

20   Entry.)

21          A.     Plaintiffs’ Motion in Limine

22          Plaintiffs have filed a motion in limine to exclude the testimony of defense expert

23   Evan Barnett. Plaintiffs argue that Mr. Barnett is not qualified to give expert opinions

24   about whether Fannie Mae’s Desktop Underwriter system correctly applied its Selling

25   Guide standards to Plaintiffs’ consumer reports and, even so, this issue is not relevant to

26   Plaintiffs’ claims. (Pls.’ Mot. at 7-8.)1 Federal Rule of Evidence 702 permits opinion

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              To the extent Plaintiffs and Fannie Mae each seek to exclude the testimony of
28   their respective experts concerning whether Fannie Mae is a “consumer reporting
     agency” under the Fair Credit Reporting Act (“FCRA”), these arguments are moot
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 1   testimony by an expert as long as the witness is qualified and the witness’s opinion is
 2   relevant and reliable. See Fed. R. Evid. 702. A witness may be “qualified as an expert by
 3   knowledge, skill, experience, training, or education.” Id. Rule 702 “contemplates a broad
 4   conception of expert qualifications.” Thomas v. Newton Int’l Enters., 42 F.3d 1266, 1269
 5   (9th Cir. 1994). “Expert opinion testimony is relevant if the knowledge underlying it has
 6   a valid connection to the pertinent inquiry. And it is reliable if the knowledge underlying
 7   it has a reliable basis in the knowledge and experience of the relevant discipline.”
 8   Primiano v. Cook, 598 F.3d 558, 565 (9th Cir. 2010) (internal quotation marks omitted),
 9   as amended (Apr. 27, 2010); see also Hangarter v. Provident Life & Acc. Ins. Co., 373
10   F.3d 998, 1017 (9th Cir. 2004) (stating that “the reliability of non-scientific testimony . . .
11   depends heavily on the knowledge and experience of the expert”). The proponent of the
12   expert has the burden of proving admissibility by a preponderance of the evidence.
13   Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 592 n.10 (1993); Lust v. Merrell
14   Dow Pharm., Inc., 89 F.3d 594, 598 (9th Cir. 1996).
15          Mr. Barnett’s expert report indicates that he will offer testimony that provides
16   background information on the consumer reporting industry, including how consumer
17   reports are generated and the types of information they contain. (See Doc. 158-1, Expert
18   Report of Evan T. Barnett (“Barnett Report”) ¶¶ 12-18.) Plaintiffs have not objected to
19   this testimony on relevancy grounds or argued that Mr. Barnett lacks the expertise to
20   provide testimony on the consumer reporting industry, in general. Accordingly, the Court
21   will not preclude Mr. Barnett from testifying at trial with respect to his knowledge of the
22   background of the consumer reporting industry. Mr. Barnett’s report also indicates that he
23   intends to provide testimony on whether the Desktop Underwriter software correctly
24   applied Fannie Mae’s Selling Guide standards to Plaintiffs’ consumer reports. (See
25   Barnett Report ¶¶ 24-25.) The Court agrees that Fannie Mae has failed to establish that
26   Mr. Barnett is qualified to give such testimony. Mr. Barnett has admitted that he has no
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     because the Court has already concluded that Fannie Mae acts as a consumer reporting
28   agency when it licenses its Desktop Underwriter software to lenders. (See Doc. 155, Feb.
     24, 2016 Order at 8.)

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 1   direct experience in the underwriting process of mortgage lending, and he has no
 2   experience working with the Desktop Underwriter system or Fannie Mae’s Selling Guide.
 3   Absent any evidence that Mr. Barnett has any experience, training, or knowledge
 4   particular to the Desktop Underwriter system or Fannie Mae’s Selling Guide, the Court
 5   cannot conclude that he is sufficiently qualified to provide expert testimony as to whether
 6   the Desktop Underwriter software correctly applied the Selling Guide standards to
 7   Plaintiffs’ consumer reports.
 8          B.     Fannie Mae’s Motion in Limine
 9          Fannie Mae has filed a motion in limine to exclude the testimony of Plaintiffs’
10   expert, Evan Hendricks. Fannie Mae first argues that Mr. Hendricks purports to testify
11   that Fannie Mae acted “unreasonably” and that such testimony constitutes impermissible
12   legal conclusions and, even so, Mr. Hendricks is not qualified to offer such an opinion.
13   (Def.’s Mot. at 6-10.) Mr. Hendricks’s expert report states that he intends to testify that
14   Fannie Mae has implemented “unreasonable” procedures that “disregard[] well-known
15   industry standards for characterizing and reporting consumer credit data.” (Doc. 142-1,
16   Expert Report of Evan Hendricks (“Hendricks Report”) at 9-12.) The Court cannot
17   conclude that Mr. Hendricks is unqualified to opine as to standard credit reporting
18   policies and procedures. As recently recognized by the Court in a similar case brought
19   under the FCRA:
20          For thirty-three years, Hendricks researched, wrote, edited, and published a
            bi-weekly newsletter covering various aspects of the FCRA. For ten years,
21          he served as a privacy expert consultant for the Social Security
            Administration, where he reviewed policies and practices regarding use and
22          disclosure of personal data. Hendricks also has a FCRA certification from
            the National Credit Reporting Association. Additionally, Hendricks has
23          testified about the FCRA and related matters before the United States
            House Financial Services Committee and Senate Banking Committee, and
24          has been admitted as an expert witness to testify on similar matters in both
            state and federal courts. These experiences qualify Hendricks to offer
25          expert witness testimony on certain topics in this case.
26   Valenzuela v. Equifax Info. Servs. LLC, No. CV-13-02259-PHX-DLR, 2015 WL
27   6811585, at *2 (D. Ariz. Nov. 6, 2015); (see also Doc. 142-1, Hendricks Report at 16-
28   30.) The Court will not preclude Mr. Hendricks from testifying regarding the relevant


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 1   industry standards for characterizing and reporting consumer credit data or describing
 2   how Fannie Mae’s procedures comport with these standards. A layperson is not likely to
 3   have independent knowledge of the intricacies of how consumer reports are typically
 4   interpreted and Mr. Hendricks’s specialized knowledge on this topic will assist the trier
 5   of fact. See Fed. R. Evid. 702(a). Mr. Hendricks, however, will not be permitted provide
 6   an opinion as to whether these procedures should be considered “unreasonable” under the
 7   FCRA, because this is an ultimate issue that will be decided by the jury. See Fed. R. Evid.
 8   704(a) & 1972 Advisory Committee Note (stating that an expert’s opinion “may
 9   embrace[] an ultimate issue,” but the opinion cannot “merely tell the jury what result to
10   reach”); see also Hangarter, 373 F.3d at 1016 (stating that an expert did not improperly
11   embrace the issue of bad faith under Rule 704(a) by testifying as to the relevant industry
12   standards and the defendant’s failure to comport with these standards).
13          Fannie Mae also argues that Mr. Hendricks intends to testify about its state of
14   mind and past “bad acts,” and maintains that such testimony should be excluded because
15   Mr. Hendricks has no personal knowledge on these issues. (Id. at 10-12 (citing Hendricks
16   Report at 13-15).) Plaintiffs have not specifically responded to these objections. Mr.
17   Hendricks’s expert report indicates that he plans to offer testimony concerning the
18   effectiveness of the remedial measures that Fannie Mae incorporated after the time period
19   relevant to this case. (See Hendricks Report at 13-14.) As the Court indicated at the
20   pretrial conference, any testimony from Mr. Hendricks related to remedial measures that
21   Fannie Mae incorporated after the time period relevant to this case is not permitted by the
22   Federal Rules of Evidence and therefore will not be permitted. See Fed. R. Evid. 407.
23   Further, because Plaintiffs have not proffered any persuasive argument as to why Rule
24   404 does not prevent Mr. Hendricks from testifying that Fannie Mae had “punish[ed]
25   consumers for exercising their legal rights under the FCRA to dispute credit report
26   errors” in the past, the Court will not permit Mr. Hendricks to testify to the events
27   described on the final page of his report. (See Hendricks Report at 15.)
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 1         IT IS ORDERED denying in part and granting in part Plaintiffs’ Motion in
 2   Limine No. 3 to Exclude Testimony of Evan T. Barnett (Doc. 137).
 3         IT IS FURTHER ORDERED denying in part and granting in part Defendant
 4   Federal National Mortgage Association’s Motion in Limine No. 3 to Exclude the
 5   Testimony of Evan D. Hendricks (Doc. 142).
 6                                         Dated this 22nd day of April, 2016.
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